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  March 21, 2025

  VIA ECF

  The Honorable Michael A. Hammer
  United States Magistrate Judge
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, NJ 07102

                Re: Khalil v. Joyce, et al., Case No.: 2:25-cv-01963-MEF-MAH

  Dear Judge Hammer:

  On behalf of the Petitioner, I am submitting materials for twelve attorneys to be admitted
  Pro Hac Vice.

  Earlier today, I contacted counsel for the Government who advised that they do not object
  to any of the admissions for Petitioner’s attorneys. Pursuant to the Court’s preferences, I
  am attaching to this letter a proposed form of order along with a certification from each
  individual applicant providing the information required by L.Civ.R. 101.1(c) and my
  respective certifications stating that I will be responsible for their conduct in this matter
  and will otherwise comply with L.Civ.R. 101(c). The attorneys who are seeking PHV
  admission are:

         Omar Jadwat                         Vera Eidelman
         Noor Zafar                          Tyler Takemoto
         Sidra Mahfooz                       Amy Belsher
         Brian Hauss                         Molly Biklen
         Brett Max Kaufman                   Robert Hodgson
         Esha Bhandari                       Veronica Salama


  Thank you very much for the Court’s time and consideration.

  Respectfully submitted,


  Jeanne LoCicero
